Case 2:18-cv-11273-MCA-LDW Document 1933 Filed 01/11/22 Page 1 of 2 PageID: 55596




                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY

                                                           Civil Action No. 18-11273 (MCA)(LDW)
  OCCIDENTAL CHEMICAL
  CORPORATION,
                                                             ORDER OF SPECIAL MASTER
                          Plaintiff,                      GRANTING IN PART AND DENYING IN
                                                            PART PLAINTIFF’S MOTION TO
            vs.                                           COMPEL DEFENDANTS TO PROVIDE A
                                                            STATEMENT AND/OR PRODUCE
  21ST CENTURY FOX AMERICA, INC., et                              RESPONSE COSTS
  al.,

                          Defendants.


            THIS MATTER having come by way of a Motion to Compel filed by plaintiff, Occidental

  Chemical Corporation (“OxyChem”), on September 17, 2021, seeking an order pursuant to

  Federal Rule of Civil Procedure 37(a) compelling defendant, Small Parties Group (the “SPG”), to

  provide a statement setting forth whether additional documents exist that relate to the SPG’s

  response costs and whether any such documents are being withheld on the basis of a joint defense

  or other privilege (ECF No. 1866) (the “Motion”); and the Special Master having considered the

  parties’ submissions, and heard oral argument; and for good cause shown, as detailed in the Special

  Master’s written decision of same date;

            IT IS on this 11th day of January 2022,

            ORDERED that the Motion is GRANTED IN PART and DENIED IN PART; and it is

  further

            ORDERED that the SPG is directed to, within 30 days, further respond to Federal Rule of

  Civil Procedure 34 discovery requests pertaining to response cost documents by stating whether:

  (1) additional response cost documents exist that have not been produced; (2) such documents are

  being withheld on the basis of any privilege or other protection; and (3) the SPG will be further

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Case 2:18-cv-11273-MCA-LDW Document 1933 Filed 01/11/22 Page 2 of 2 PageID: 55597




  supplementing its document production with additional response cost documents and/or a privilege

  log; and it is further

          ORDERED that any supplementation of discovery responses by the SPG must be

  completed within 45 days.


                                              /s/ Thomas P. Scrivo
                                              THOMAS P. SCRIVO
                                              Special Master




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